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                                 #:1317



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  9
 10                      UNITED STATES DISTRICT COURT
 11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 12
 13 NEMAN BROTHERS & ASSOC.,                  Case No. 2:20-cv-11181-CAS-JPRC
    INC., a California Corporation,
 14                                           DECLARATION OF LINNA CHEN
                 Plaintiff,                   IN FURTHER SUPPORT OF
 15                                           DEFENDANT INTERFOCUS, INC.
          v.                                  D.B.A. WWW.PATPAT.COM’S:
 16
    INTERFOCUS, INC. d.b.a.                    1) MOTION FOR SUMMARY
 17 www.patpat.com, a Delaware                    JUDGMENT AND PARTIAL
    Corporation; CAN WANG, and                    SUMMARY JUDGMENT ON
 18 individual, and DOES 1-10, inclusive.,        PLAINTIFF’S COMPLAINT
                                                  AND DEFENDANT’S
 19              Defendants.                      COUNTERCLAIM; AND
 20                                            2) OPPOSITION TO PLAINTIFF’S
    INTERFOCUS, INC. d.b.a.                       MOTION FOR SUMMARY
 21 www.patpat.com, a Delaware                    JUDGMENT
    Corporation; CAN WANG, an
 22 individual, and DOES 1-10, inclusive,      Date:      December 6, 2021
                                               Time:      10:00 am
 23              Counterclaim Plaintiffs,
                                               Courtroom: Courtroom 8D
 24        v.
                                              The Hon. Christina A. Snyder
 25 NEMAN BROTHERS & ASSOC.,
    INC., a California Corporation,
 26
                 Counterclaim Defendant.
 27
 28

                                 DECLARATION OF LINNA CHEN
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  1                          DECLARATION OF LINNA CHEN
  2         I, Linna Chen, declare:
  3         1.     I am licensed to practice in California and I have been practicing law
  4 for over 14 years. From 2019 to early 2020, I represented Interfocus Inc. to
  5 negotiate the previous settlement agreement (the “PSA”) with Neman Brothers
  6 regarding the first lawsuit filed by Neman Brothers on November 26, 2019.
  7         2.     Interfocus entered into the PSA for cost and efficiency reasons, not
  8 because it believed it actually infringed Neman’s copyrights or Neman’s copyrights
  9 were valid.
 10         3.     The first communication from me to Mr. Jeong I could locate regarding
 11 the first lawsuit was titled “FRE 408 Settlement Discussion-Intellectual Property of
 12 Neman Brothers” and Mr. Jeong never disputed the agreement that our
 13 communications should never be used as evidence. Ex. A.
 14         4.     To the extent the Court will allow such settlement communications to
 15 be admitted as evidence, my recollection is:
 16         5.     During the negotiation with Neman’s attorney Mr. Jeong, I insisted on
 17 adding the Notice and Cure provision into PSA. Interfocus has large number of
 18 garments being sold on its platform daily. It is not possible to police every single
 19 listing of garment and check for copyright registrations immediately. I intended to
 20 include such languages so if Interfocus has a potentially infringing garment listed on
 21 its platform, it has the option to take it down to avoid litigation.
 22         6.     There was back and forth between me and Mr. Jeong during the
 23 negotiation. He objected to some language and I objected to some language in the
 24 drafts. I emphasized to him that Interfocus would not agree to a settlement
 25 agreement after which Interfocus would still be sued by Neman. At the end, Mr.
 26 Jeong agreed and signed the MSA in March 2020.
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                                    DECLARATION OF LINNA CHEN
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  1        I declare under penalty of perjury under the laws of the United States that the
  2 foregoing is true and correct. Executed this 28th day of October 2021, at Santa
  3 Clara, California, U.S.A.
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                                                         Linna Chen
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                                  DECLARATION OF LINNA CHEN
